Case 1:20-cv-02692-TWP-MPB Documenti-1 Filed 10/15/20 Page1of1PagelD#: 7

EEOC Form 161 (11/16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

DISMISSAL AND NOTICE OF RIGHTS

To: Jon Kidd From: [Indianapolis District Office
1307 Hazy Falls 101 West Ohio Street
Westfield, IN 46074 Suite 1900

indianapolis, IN 46204

[ ] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.
Michelle D. Ware,
470-2020-01913 Enforcement Supervisor (463) 999-1184

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.
Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

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Other (briefly state)

- NOTICE OF SUIT RIGHTS -
(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

, AUG 1 2 2020

Enclosures(s) : Michelle Eisele, 7 io (Date Mailed)
District Director
oe Michelle Maslowski Lisa Everling
Ogletree and Deakins Stewart and Stewart Attornies
111 Monument Circle, Suite 4600 931 S.Rangeline Road

Indianapolis, IN 46204 Carmel, IN 46032
